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Description Appearance Sheet for the United States District Court Western District of Virginia
              Charlottesville Division; Sines, et al v. Kessler, et al; Case No: 3:17CV72; Date:
              2/12/19; Type of Hearing: Telephonic Discovery; Parties: 1. Joel C. Hoppe, USMJ,
              2.Gabrielle Tenzer ; 3. Jessica Phillips ; 4. Alan Levine, 5. James Kolenich, 6. John
              Dinucci, 7. Bryan Jones, 8. Dave Cambell; Recorded by: Heidi N. Wheeler; Time in
              Court: 29 min

Date          2/12/2019 Location [CVILLE-3FTR]
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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

    Time        Speaker                                       Note
12:31:48 PM   1
12:32:10 PM   2             Garbrielle Tenzer with Christopher Greene
12:32:24 PM   3             Jessica Phillips ?
12:32:35 PM   4             Alan Levine with Michael Bloch
12:32:40 PM   1
12:32:53 PM   5             James Kolenich
12:33:03 PM   1
12:33:04 PM   6             John DiNucci
12:33:09 PM   1
12:33:17 PM   7             Bryan Jones
12:33:21 PM   1
12:33:23 PM   8             David Campbell
12:33:36 PM   1
12:34:44 PM   2             Gabrielle Tenzer
12:37:34 PM   1
12:37:38 PM   5             James Kolenich
12:39:31 PM   1
12:39:38 PM   6             John DiNucci
12:40:39 PM   1
12:40:51 PM   6
12:41:02 PM   1
12:41:07 PM   2             Gabrielle Tenzer
12:42:01 PM   1
12:42:10 PM   7, 8
12:42:32 PM   1
12:44:08 PM   6
12:44:42 PM   2
12:44:57 PM   1
12:45:06 PM   6
12:45:07 PM   1
12:45:42 PM   5
12:46:23 PM   1
12:46:26 PM   6
12:46:35 PM   1
12:46:47 PM   7
12:47:18 PM   1
12:48:08 PM   2
12:48:35 PM   1
12:48:37 PM   6
12:49:02 PM   2
12:49:25 PM   1
12:49:45 PM   6


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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

12:49:48 PM   5
12:49:58 PM   7
12:50:00 PM   8
12:50:02 PM   1
12:50:52 PM   2
12:51:30 PM   1
12:51:37 PM   5,1
12:53:04 PM   5
12:53:16 PM   2
12:53:58 PM   1
12:54:15 PM   2,1
12:54:42 PM   5,2
12:55:07 PM   1,5
12:55:29 PM   1,2
12:56:59 PM   1,2
12:57:27 PM   1,5
12:57:30 PM   1,6
12:57:36 PM   1,7
12:57:46 PM   1,2
12:58:04 PM   8
12:58:11 PM   1             3:00 next Thursday
12:58:34 PM   6,1
12:58:54 PM   1,2
1:00:24 PM    1
1:00:38 PM    1
1:00:48 PM    END




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